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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
TRUSTEES OF THE MASON TENDERS
DISTRICT COUNCIL WELFARE FUND,
PENSION FUND, ANNUITY FUND, AND
TRAINING PROGRAM, ANNA GUTSIN, AND
ROBERT BONANZA,
                                    Petitioners,                      19 CIVIL 0711 (JGK)

                 -against-                                               JUDGMENT

A.J.S. PROJECT MANAGEMENT, INC.,
                                    Respondent.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated November 6, 2020, the petition

motion to confirm the arbitration award is granted and the underlying arbitration award is ordered

confirmed; the award dated January 25, 2018 is confirmed, judgment is entered in favor of the

Petitioners against the Respondent, awarding Petitioners $252,862.09, consisting of $160,004.34

of delinquent Fund contributions, $12,967.25 in dues and PAC contributions, $31,257.50 of

“Current Interest,” $31,257.50 of liquidated damages, plus interest for late payments, together with

attorney’s fees and other costs ; accordingly, this case is closed.

Dated: New York, New York
       November 9, 2020

                                                       RUBY J. KRAJICK
                                                 _________________________
                                                       Clerk of Court
                                               BY:
                                                 _________________________
                                                       Deputy Clerk
